
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. WR-69,784-01






EX PARTE DANIEL E. IGO, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS

CAUSE NO. 2002-400,004 IN THE 137TH DISTRICT COURT

FROM LUBBOCK COUNTY





	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of sexual assault and
sentenced to twenty years' imprisonment. The Seventh Court of Appeals affirmed his conviction. 
Igo v. State, No. 07-02-00484-CR (Tex. App.-Amarillo, Nov. 30, 2004, pet. granted).

	Applicant contends, among other things, that trial counsel rendered ineffective assistance.
On June 18, 2008, we remanded this application for findings of fact and conclusions of law. On
remand, the trial court made findings of fact and conclusions of law and recommended that relief be
denied. Based on the trial court's findings of fact and our own independent review of the record, we
conclude that Applicant's claims are without merit. Accordingly, this application is denied.

Filed: March 25, 2009

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